                          Case 1:17-cv-02670-ELH Document 11-13 Filed 12/21/17 Page 1 of 1



                                                 IN THE UNITED STATES DISTRICT COURT
                                                    FOR THE DISTRICT OF MARYLAND
              B.N.S., a Minor Child by her Parents and
                                                                    *
                    Plaintiff,
                                                                    *                            17-cv-2670-ELH
                    v.                                                                Case No.
              Victor Brito, Chief of Police, Hagerstown P.D.
                                                                    *

                    Defendant.                                      *

                                              NOTICE OF FILING OF DOCUMENT UNDER SEAL
              Check one.
                                          10                                Defendants' Motion to Dismiss or,
               X
                         Exhibit            which is an attachment to
                         alternatively, for Summary Judgment
                         will be electronically filed under seal within 24 hours of the filing of this Notice.



                                                                (title of document)

                         will be electronically filed under seal within 24 hours of the filing of this Notice.

                         I certify that at the same time I am filing this Notice, I will serve copies of the document
              identified above by First Class U.S. Mail, postage prepaid, to all counsel of record. .

              December 21, 2017
              Date                                                        Signature
                                                                           Matthew D. Peter - 26351
                                                                          Printed Name and Bar Number

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